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DECLARATION FROM DR. SERGIO IIMENEZ, PhD.

l, Sergio ]imenez, declare, pursuant to 28 U.S.C. 1746, that the following is true and
correct and based on my own personal knowledge

1] l am over 21 years of age, of sound mind and competent to make this
deciaration. l have a PhD. in Oceanography from the Facultad de Ciencias Marinas
from the Universidad Autonoma de Baja California, and I am a full-time Professor
and Researcher employed by the Universidad Autonoma de Tamaulipas in Tampico,
Tamaulipas Mexico. l am also the founder and director of the CIDlPORT which is a
consulting firm associated with the University of Tamaulipas that is in charge of
developing ports, coastal projects, dredging projects and development projects in
the Gulf of Mexico and along the coast of the Gulf of Mexico. The CIDlPORT has a
research vessel called "CORRECAMINOS MARINO which is used for exploratory and
research campaigns in the Gulfof Mexico.

2] I am also the representative of the State of Tamaulipas and the University of
Tamaulipas to the yearly conference held pursuant to the MEXUSGULF Oil
Contingency Plan as to Which the United States, the State of Texas, the State Of
Tamaulipas, and the Republic of Mexico are signatory parties. The last meeting of
the MEXUSGULF was on April 26, 2012 in South Padre Island, Texas. I have been the
Master Oceanographer in charge of the "on sea" Oil Spill Simulation on behalf of the
State of Tamaulipas and the Republic of Mexico with the responsibility for the
Mexican EEZ for the past 10 years.

3] l have read a portion of British Petroleum's Motion for Summary ]udgment
against the Mexican State’s of Tamaulipas, Veracruz and Quintana Roo. In its Motion
British Petroleum contends that according to a newspaper article "No Deepwater
Horizon related oil ever crossed into Mexican Gulf Shores. l Work very closely with
the Tamaulipas State Government and the Ministry of the Environment of the State
of Tamaulipas and l know that the foregoing quoted statement is not true.

4] In ]uly and August 2010 the State of Tamaulipas patrolled and maintained
monitoring and clean up crews that monitored the arrival of oil and the
contamination of their Gulf Shores. Samples of weathered oil, tar balls and oil
residue were collected near Playa Bagdad, a Gulf of Mexico beach zone of the State of
Tamaulipas. Playa Bagdad is located on the North shores of the State of Tamaulipas
in the Laguna Madre Concession Area. Samples of weathered oil, tar balls and oil
residues Were also collected in La Pesca, Tamaulipas. The samples were kept and
preserved by the State of Tamaulipas. and they were subsequently chemically
analyzed, utilizing BP's fingerprint analysis derived from the Deepwater Horizon
litigation.

5] The samples that were obtained were an identical match to the fingerprint
provided by BP in the Deepwater Horizon litigation. The Chemist has the results of 4
steps to identify a match and l hereby share the results of step one of the samples as
follows:

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Sample 1 and 2:

Step l. The oil is identified as a member of the South Louisiana Crude Oil family ifall
three of the following criteria are met:

ai T»\ FmWL`-HFB»W
€l

R:'-\ PEM‘.'I»$" !KHPE\'CPW

vuh~'ll»s&(»l$q!!‘

 

 

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1. The ratio of n-C17/n-C29 < 7.5,
2. The ratio of n-C17/n-C35 < 21.6, &
3. The ration of Pristant/Phytane < 1.68.

Sample 1 and 2 test results are (shown in graphics and explanation from our
chemist]:

It is evident that perfectly clear signals of superimposed hydrocarbons, recognized
as the presence of Unresolved Complex Mixture (UMC), exist in the case of the
samples labeled as the one contained within the blue gloves. The chromatographic
trace shown in Figure 1d, includes lineal hydrocarbons from C-17 and beyond C-35;
and permits the calculus for the required parameters to be fulfilled at first in order
to be considered as potentially derived from the BP's oil spill. Based in such signals,
indexes were calculated with the results indicated as follows:

Ratio Pristant/Phytane= 0.69

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Ratio C17/C29= 0.56
Ratio C17/C35= 0.38
5] lt was my understanding that l Was to render an expert report on how the

Deepwater Horizon oil got to Tamaulipas’ Gulf of Mexico shores, using my
Oceanography knowledge and Hydro-dynamic modeling, followed by real shore
capture results [to prove my model]. I was advised that the ]udge had deferred
discovery on such reports until a future date. lVly report is Written, tested and
proved and it shows the arrival of superficial oil from the Deepwater Horizon
explosion from late july to November of 2010. My report also concludes that the
sub-surface plumes created by the Deepwater Horizon accident reached the shores
of the States of Tamaulipas and Veracruz as early as late january 2011 and continue
to impact its shores and marine life.

6) Through the MEXUS GULF Oil Contingency Plan I have traveled all of the
outer lslands of the State of Tamaulipas and Veracruz. Tamaulipas has over 70
islands in the Gulf of Mexico and Veracruz has over 50 islands in the Gulf of Mexico.
Quintana Roo also has islands in the Gulf of Mexico--approximatley 16 of them.
Most of the islands were impacted with superficial Macondo Oil. All of the islands
have been impacted by the sub-surface plumes created by the Deepwater Horizon
Oil Spill. The shores of Tamaulipas, Veracruz, and Quintanta Roo along the Gulf of
Mexico have already been damaged by the Macondo oil, and they will continue to be
damaged by Macondo Oil for the next 10 years.

l declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on this the 24th day of]anuary 2013© 0
/l ill

Ser l jini‘e’nez

 

